            Case 1:22-cv-00242-N/A Document 1                 Filed 08/18/22   Page 1 of 1

                                                                                             Form 4-1


UNITED STATES COURT OF INTERNATIONAL TRADE                                            FORM 4
  OFFICE DEPOT, INC., OFFICE DEPOT LLC and
  VEYER LLC


                                        Plaintiff,

   v.                                                                  S U M M O N S 22-242

   UNITED STATES,
                                        Defendant.

TO:     The Above-Named Defendant:

        You are hereby summoned and required to serve on plaintiff’s attorney, whose name and
address are set out below, an answer to the complaint which is herewith served on you, within
21* days after service of this summons on you, exclusive of the day of service. If you fail to do
so, judgment by default will be taken against you for the relief demanded in the complaint.

                                              /s/ Mario Toscano
                                              Clerk of the Court




                                                            Name, Address, Telephone Number and
                                                            E-mail Address of Plaintiff’s Attorney

                                                         Jeffrey S. NeeleyHusch Blackwell LLP
                                                         1801 Pennsylvania Avenue, NW, Suite
Signature of Plaintiff’s Attorney                        1000
                                                         Washington DC 20006
                                                         Direct: 202.378.2357
8/18/2022                                                jeffrey.neeley@huschblackwell.com
        Date

* If the United States or an officer or agency thereof is a defendant, the time to be inserted as to
it is 60 days, except that in an action described in 28 U.S.C. § 1581(f) the time to be inserted is
14 days.


(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7,
2010, eff. Jan. 1, 2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25,
2017.)
